IN THE UNITED STATES ])IS'I`RICT COURT
F()R THE SOUTHERN DISTRICT OF NEW YORK

 

MCNIDER l\/IARINE, LLC and JOHN BRUCE
MCNIDER,

Plaintiffs,
DOCKET NO.:

V.

YELLOWSTONE CAPITAL, LLC, YITZHAK JURY TRIAL DEMANDED
STERN, ARCA FUNDING, LLC, MCA
RECOVERY, LLC,

Defendants.

 

 

COMPLAINT AND DEMAND FOR A TRIAL BY JURY

Plaintifi"s l\/lcNider l\/larine, LLC and .lohn Bruce l\/lcNider (collectively
“l\/lcNider”), by their attorneys, White and Williams LLP, as and for their complaint and demand
for a trial by jury, allege:
NATURE OF THE ACTION

l. This is an action to save a small Alabama business from financial ruin and to
prevent Defendants from continuing to engage in the type of predatory lending practices that
have been condemned by consumer groups and Attorney Generals around the country.

2. l\/lcNider is a small marina that has been in the business of selling and repairing
boats for more than a decade. lt is owned by Bruce McNider and his Wife, l\/lelissa McNider.
Both have lived in Alabama their entire lives, and have never set foot in New York.

3. Defendant Yellowstone Capital, LLC (“Yellowstone”), led by Defendant Yitzhak

Stern, a.k.a. lsaac Stern (“Stern”) has charged unlawful and unconscionable interest rates that

they knew or should have known would ultimately cripple Plaintifi`s’ business and cause
financial ruin to l\/lr. McNider and his family.

4. T he scheme involves Yellowstone advancing funds to l\/IcNider (and others),
through their broker, Defendant Arca Funding, LLC (“Arca”), pursuant to so-called merchant
cash advance agreements

5. Once Plaintiffs began to miss payments, l)el"endant l\/ICA Recovery, LLC (“MCA
Recovery”) would make further attempts at collection

6. The terms and conditions of the agreements are wholly misleading, and
intentionally designed to disguise the true nature of the transaction so that they do not appear to
violate the criminal usury laws of various states.

7. As Bloomberg News has reported, the l\/ICA industry is “essentially payday
lending for businessesl lt’s a high-risk market, and interest rates can exceed 500 percent a year,
or 50 to l00 times higher than a bank’s.” Id.

8. ln June of 2017, Congressman Emanuel Cleaver, l_l, launched an investigation of
small business financial technology (“FinTech”).

9. Congressman Clever was “particularly interested in payday loans for small
businesses, also known as ‘merchant cash advance.”2

l0. He expressed concern that “some FinTech lenders may be trapping small business
owners in cycles of debt. . .”

ll. The National Consumer Law Center came to the same conclusion:

 

l Zeke Faux and Dune Lawrence, ls O)vDeck Capl'lal the Next Generation ()_/Lender or Boz'/er Room?, BLOOMBERG
(Nov. l3, 2014, 6;07 Al\/l), httr)s://Www.bloomberg.com/news/articles/ZOl4~l l~l3/ondeck~ipo*shadv-brokers*add~

2 Scott l\/l. Pearson, House Member Lazmch.es Fl'nTech Lerza’irlg [Hveslz`gatiorz, CONSUMER FINANCE MONITOR (June
26, 20 l 7), https://www.consumertinan cemonitor.com/ZOl 7/06/26/house~member-launches-t`intecli-lending-

investigati_Q_ll/_.

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l\/lerchant cash advances operate very similarly to payday loans and have similar
problems. A lump sum of cash is taken out as an advance on a borrower’s future
sales. The merchant then pays back this balance in addition to an expensive
premium through automatic deductions from the merchant’s daily credit card or
debit card sales or from its bank account.3

l2. As reported by CNN, “[in]any business owners take out new advances in order to
pay off outstanding balances on previous advances, plunging them into a cycle of debt.”4

l3. According to the Consumer Financial Protection Bureau, over 19 million U.S.
households resort to payday loans. Of that number, almost 70% of borrowers have to take out a
second loan to cover the first, and 20% end up saddled with 10 or more loans, one after the other.

14. The New York State Department of Financial Services has recognized “the
harmful impact of high-interest payday loans that trap consumers in a cycle of increasing debt
and predatory collection practices,” and has vowed “to protect New Yorkers from unscrupulous
practices and [] oppose any attempt to evade New York’s laws.’75

15. Tlie New York Attorney General’s Office has also acknowledged the damage
these loans do, stating: “[a]lthough many of these companies profess to offer cash-strapped
consumers much needed access to loans, they typically charge exorbitant interest rates that

essentially force struggling consumers to roll over one payday loan into another and that trap

. . . . . . 6
consumers in a vicious, never ending cycle of high-cost borrowing that they can never repay.”

 

3 National Consumer Law Center, Comments to the Comptroller of the Currericy Office of the Comptroller of the
Currency on Exp/ori)ig S/)ecial Pw"pose Naliona/ Bank C/ic/rle)'sfor Fim‘ech Companies, National Consumer Law
Center (Jan. l7, 20l7)littp://www.nclc.org/images/pdf/bariking‘and_payment_systems/ tintech/comments-fintech~
jan20l7.pdf..

4 Octavio Blanco, Conlroversl`al Cash Advances Come AZA Hl'gh Cosl To Small Businesses, CNNMONEY (Dec. l,
2016, 2128 PM), littp;//monev.cnii.com/ZO l 6/12/0 l /news/economv/merchant-cash~advance,/iiidex.

5 Letters from l\/laria T. Vullo, Superintendent, New York State Department of Financial Services, to the Honorable
Thomas J. Curi~y, Comptroller, OFFiCE oF Ti~ii§ CoMPTRoi/LER or THE CURRENCY (January ]7, 2017 and April 14,
2017), https://www.occ.treas.frov/topics/responsibIe»innovation/comnients/cominent-nvs»der)t»financial~services.pdf.

6 lietter from lane M. Azia, Bureau Chief, Consumer Frauds and Protection, to the l~lonorable Thomas J. Curry,
Comptroller, OFFICE oF 'i`i~iE CoMPTRoiiLER oF THE CURRENCY (January 17, 2017),
littps://www.occ.treas.gov/tonics/responsiblevinnovation/comments/comment-nv~att\/*general.pdf.

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l6. Attorney Generals of other states have echoed the same public policy concern in
bringing enforcement action against payday lenders; “These companies targeted thousands of
financially-stressed consumers in need of a loan, and charged exorbitant interest rates and fees,
causing these consumers and their families to incur even greater economic strain....We are
pleased to have worked with the Division of Banks in order to obtain significant restitution for

consumers who were harmed, and permanently stop these lenders from doing business in

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l\/Iassachusetts.
l7. Yellowstone is the commercial equivalent of a payday lender
18. Yellowstone’s scheme is designed to trap a small business in a cycle of never

ending debt so that Defendants can reap as much profit as quickly as possible

19. Yellowstone knew that in order for l\/IcNider to pay the usurious interest rates it
charged, l\/IcNider had to enter into subsequent usurious and unconscionable agreements with the
same or different l\/ICA companies

20. The foreseeable consequence of Defendants’ actions was the devastation of an
otherwise profitable business

2l. As one small business protection advocate has put it, MCA companies, like
Yellowstone, are “in the business of helping [small] businesses fail.” BZOOm/)erg, supra

THE PARTIES
22. Plaintiff l\/IcNider l\/Iarine, LLC is an Alabama limited liability company with its

principal place of business located at 30160, Suite l, Highway 43, Thomasville, Alabama 36784.

 

7 Attorney General of l\/lassachusetts, Un/i`censed Lemz’ers to Refzmd Millions )‘0 Consumers Over /l/egal Orilz'ne
Lending Scheme, OFFiCi/\L WEBSITE or THE ArToRNEY GENERAI., or I\/IAssACi~iusE'i"i‘s (Oct. 29, 2015),
http://www.mass.gov/ago/news~and~updates/press-relcases/20 l 5/20l 5~ l 0~29-unlicensed-lenders.htinl.

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John Bruce l\/lcNider and Melissa l\/lcNider are the only two members of l\/IcNider l\/larine, LLC,
and both are residents and citizens of Alabama.

23. Plaintiff John Bruce l\/lcNider is an individual who is a resident and citizen of
Alabama and who, along with Melissa l\/lcNider, resides at 1505 Lake Wood Drive, Thomasville,
Alabaina 36784.

24. Defendant Yellowstone Capital, l,LC is a limited liability company duly
organized and existing under the laws of the State of New Jersey with its principal offices
located at l Evertrust Plaza, Jersey City, New Jersey 07302. lts sole LLC member is a citizen of
Delaware.

25. Defendant Yitzhak Stern (a.k.a. isaac Stern) is the President and sole owner of
Yellowstone, and an adult resident and citizen of Hillside, New Jersey.

26. Defendant MCA Recovery, LLC, is a limited liability company organized and
existing under the laws of the State of New York with a Registered Agent and DOS Process
address c/o Business Filings lncorporated, l87 Wolf Road, Albany, New York 12205. Upon
information and belief, each of l\/ICA Recovery’s LLC members is a New York citizen.

27. Defendant Arca Funding, LLC is a limited liability company duly organized and
existing under the laws of the State of New York with its principal offices located at 1222 Ave.
l\/l, Suite 406, Brooklyn, New York. Upon information and belief, each ofits LLC members is a
New York citizen

JURISDICTION AND VENUE
28. Each Defendant is subject to the personal jurisdiction of this Court because each

Defendant regularly transacts business within the State of New York, has purposefully availed

itself of the laws of New York for the specific transactions at issue, or has selected New York as
the forum for all disputes related to the transactionsl

29. This Court has original jurisdiction based upon 28 U.S.C. § l332(a) because no
Plaintiff is a citizen of the same state as Defendant and the amount in controversy exceeds,
exclusive of interest and costs, the sum of $75,000.

30. This Court also hasjurisdiction under 28 U.S.C. § 2201 el’. seq.

31. Venue is proper because each Defendant regularly conducts business within this

judicial district.

 

FACTUAL BACKGROUND
A. Ovcrview of the Defendants’ Unlawful Scheme.
32. Yellowstone is not regulated by the government and the fees, penalties, and rates

are not subject to any regulatory oversight

33. Yellowstone uses this lack of regulatory oversight to evade state usury laws by
creating agreements that are wholly misleading, and intended to deceive courts around the
country into believing the agreements do not constitute loan transactions

34. As noted by an industry insider, however, these transactions operate in the same
manner as loans: “Depending on the state, the financing is technically either a loan or merchant
cash advance, but the mechanics of the financing are the same as an l\/ICA regardless.”8

35. Ultimately, when small businesses cannot satisfy the usurious and oppressive
terms of the merchant cash advances, they default, the merchant cash advance companies, and

the collection companies that serve them, quickly obtain judgments, attempt to liquidate the

 

8 Sean Murray, Merchcml Cash Advance Rea’e_/Zned, DEBANKED, http://debanked.com/2012/03/merchant~cash~
advance~redetined/.

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assets of the business and its owner(s) to repay the amounts due under their agreements, and use
threats of further economic loss or personal embarrassment to extract payouts.

36. At this point, however, the principal amounts of the advances have long been
repaid and the merchant cash advance companies are destroying the small businesses to collect
usurious interest rates and high fees charged under the successive loans
B. The So-Called “Merchant Agreements” are Disguised Loans

37. Since at least 2014, l\/icNider has been besieged by MCA companies

38. As a result of the immense financial stress put on the company by these predatory
lenders, l\/lcNider was forced to enter into two agreements with Yellowstone in 2016: one on July
20, 2016 (the “July Agreement”) and the other on October 19, 2016 (the “October Agreement”)
(collectively the “Agreements”). True and correct copies of the Agreements are attached hereto
as Exhibits A and B respectively

39. These deals were brokered by Arca Funding.

40. The July Agreement was funded by Yellowstone and “Team /-\KB” (comprised of
Yellowstone employees known as “Lock Box Steve” and “Licker,” who upon information and
belief, funded the Agreement with their personal funds).

41. Subsequent agreements were used to repay Yellowstone’s and Team AB’s July
funding, ensuring they were protected from l\/lcNider’s impending collapse.

42. ln an effort to disguise the criminally usurious nature of these transactions,
Yellowstone used a common instrument that purports to be a “merchant agreement,” The
Agreements (which are unconscionable contracts of adhesion), however, lack all of the hallmarks
of a true “merchant agreement.” Rather, the Agreements are, in truth, nothing more than a series

of collateralized loans provided at unconscionably high interest rates

43. l\/IcNider, however, did not learn that these transactions were criminally usurious
loans until informed by counsel in l\/Iarch 2017.

T he “Daily Paymenl Amount” is a Disguised “Fixed Loan Payment. ”

44. The so-called “merchant agreements” purport to purchase future receivables
based on a specified percentage of l\/IcNider’s daily receivables While these agreements give
the illusion that the repayment term is directly tied to the percentage of receivables, each of the
agreements then alters this daily percentage by fixing a daily repayment amount. This stated
daily repayment amount is purportedly based on a good-faith estimate of l\/IcNider’s daily future
receivables but is, in reality, a knowingly false term unilaterally dictated by Yellowstone in an
attempt to avoid the usury laws

45. l\/Iost notably, internally, Yellowstone noted that these payments were fixed ln
Yellowstone’s funding email for the July Agreement, the company noted that the “collection
method” for the agreement was to be a “fixed estimated payment” of $2,415; not a payment that
varied based on l\/IcNider’s receivables A true and correct copy of the funding email is attached
hereto as Exhibit C.

46. Further, when these so called “merchant agreements” are placed side-by-side, it is
undisputable that Yellowstone determines the daily payment amount based on the full value of
the loan, not the estimated daily future receivables

47. Specifically, each daily payment amount was allegedly based on 15% of
l\/lcNider’s daily future receivables The specified daily payment for each of these transactions,
however, varied from $2,415 to $3,398 in proportion to the amount of the loan, not the so called

“good~faith” estimate of what would be 15% the merchant’s daily receivables

 

 

 

 

 

 

 

 

 

 

Date Purchased Purchased I)aily l)aily Interest
Price Amount Payment Percent Rate
7/20/2016 $200,000 $289,800 S2,4l5 15% 240%
10/19/2016 $250,000 $373,750 $3,398 15% 285%
48. ln reality, these transactions are an unscrupulous pyramid scheme, whereby

McNider was pushed toward an unsustainable level of indebtedness in a relatively short period of

time, creating circumstances under which Yellowstone and other MCA companies are then

permitted to go after the personal assets of the business owner.

49.

in fact, in entering into these transactions Yellowstone knew that there was no

possibility that McNider could have met these daily payment obligations without being forced to

enter into a series of further similar transactions because they, and other MCA companies were

taking almost 90% of McNider’s daily receivables

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lV[CA Company Loan Date Daily % Daily Payment
New Era 8/11/2016 15% $1,711
Rain Capital 9/19/2016 10% $l,999
CP 9/30/2016 9% $l,208
IBIS 10/6/2016 10% $l,165
Yellowstone 10/19/2016 15% $3,398
TVT 10/17/2016 15% $l,499
ML Factors 10/27/2016 10% $2,476
Funding l\/letrics l 1/4/2016 2% $530
CP ll/l4/2016 3% $362
Total I)aily 89% $14,348

 

T he Fl`xed “Dail Percenta e” is intended to char e an interest rate in excess 0 25 %.
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50. Rather than having the loan repaid based on a fixed daily payment amount,

Yellowstone calculated the repayment term based on a fixed daily percentage of receivables

T he “Pnrchased Amonnt” is a Disguised “Repayment of Principal and Interest”

51. The purported “Purchase Amount” of the receivables supposedly “purchased” by

Yellowstone is also a complete fiction. ln each of the Agreements, Yellowstone represented that

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the parties agree upon a certain fair market value of the receivables purchased This purported
fair market value, however, is unilaterally dictated by Yellowstone and based on the credit
worthiness (or desperation) of the merchant ln contrast, a true merchant agreement determines
the fair market value of the receivable based on the credit worthiness of the customer who is
expected to pay that receivable

T he “Parchased Receivables” is not tied to any existing receivables and absoluter no
assessment of collectal)ility is conducted of the purported future receivables purchased

52. T he Agreements are not tied to receivables due on a specific and existing contract
for goods already delivered by the merchant to a customer lnstead, the alleged “merchant
agreements” are tied to the “Purchase and Sale of Future Receivables” in generic terms in effect
permitting Yellowstone the right to attach and collect monies from the merchant’s banking
accounts into which deposits were made related to all “of Merchant’s future accounts contract
rights and other obligations arising from or relating to the payment of monies from l\/lerchant’s
customers’ and/or other third party payors (the “Receipts”) defined as all payments made . . . for
the payment of l\/lerchant’s sale of goods or services until the amount specified below (the
“Purchase Agreenient”) have been delivered by l\/lerchant to [Yellowstone].”

53. ln other words, the right to repayment is not tied to the value or money owed to
the McNider based on goods or services already provided to a customer who has not yet paid and
subsequently purchased by Yellowstone pursuant to a “merchant agreement.” Rather, any and
all receivables from any customer in any amount based any sale of goods and services by the
merchant are sold, assigned and transferred to Yellowstone until such time as the purchase

amount stated in the “factoring agreement” is paid in full.

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54. Further, Yellowstone did not take actual possession of the accounts lnstead,
McNider continued to collect from his customers and would allow Yellowstone to withdraw the
daily payment from l\/lcNider’s account

T he “Security Agreements” and Confessions of Judgrnent provide full recourse in the
event ofa default or bankruptcy.

55. The Security Agreement and Guaranty contained in each agreement provides
Yellowstone with full recourse in the event of non-payment of the loans

56. Under each of the agreements a default is declared if McNider misses a payment,
declares bankruptcy, or admits its inability to pay its debts

57. ln the event of any one of these defaults Yellowstone is then permitted to
immediately seize the business assets secured under the Security Agreement as well as the
personal assets of McNider’s private business owners under the Personal Guaranty.

58. Further, the Agreements provide for recourse even in the event that McNider has
no future accounts rcceivable. ln that scenario, the lack of receivables would likely cause
McNider to file for bankruptcy, thus triggering default under the Agreements and allowing
Yellowstone to enforce the Security Agreements and Personal Guaranty.

59, Even more outrageous Yellowstone is permitted to obtain a Judgment by
Confessi,on without even notifying McNider_which it did when McNider could not repay.

60. Accordingly, the Agreements provide Yellowstone with full recourse even if the
business burned down to the ground on day one and no future receivables were ever obtained,

T he purported “T rue Up” provision is a non-negotiated term that was never intended
to be exercised.

61. The Agreements contain a “true up” provision that purports to reconcile

McNider’s daily payments based on its actual receivables This provision is illusory and is

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nothing more than a hidden provision, in purposefully small and unreadable print, designed
solely to masquerade Yellowstone’s criminal conduct.

62. This purported “true up” provision was not remotely a negotiated term, and was
never intended to be enforced.

63. ln truth, it is nothing more than a hidden provision that Yellowstone hopes its
merchants never see, and Yellowstone ensures is not seen by never mentioning it and burying it
in the middle of several documents with small print.

64. ln fact, not once did Yellowstone ever reconcile McNider’s monthly receivables

65. Further, even when merchants are owed money, Yellowstone fails to reconcile the

account As stated by a customer on Yellowstone’s Rip Off Report websiteg:

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9 Silva and Thomas Hair Studio, Comment on Yellowstone Capital, RlPOFFREPORT.COl\/I (Feb. 19, 2014),
https://www.ripoffreport.com/i'epoits/yellowstone-capitai-trusted-business-ripoff-report-verified-businesses~you-
can-trust-yellowstone-capital-dedicated-to- l 00-customer-satisfaction-the-safe-cash-advance-alternative-when-you-
need-money-the-most-yellowstone-capital~cash-advance-expert-team-years-of-industry-experience-dedicated-to-
accommodating-all-needs-of-business-owners-yellowstone-capital-the-alternative-business-tinancing-provider-
offering-unlimited-business-funds/internet/yellowstone-capital-mike-sainuels-merchant-casli-advance-cash-
advance-business-investment-827087.

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T he underwriting proves these transactions are loans because only the credit
worthiness of McNider is assessed, not the credit worthiness of its “receivables. ”

66. The underwriting of the Agreements further demonstrates that the transactions are
loans not “merchant agreenients.”

67. ln connection with each of the transactions Yellowstone reviewed no more than
McNider’s financial condition, which included the review of its bank statements tax returns
rental agreements and credit history. Yellowstone did not ask for a customer list or a list of
account receivables that it was purportedly purchasing That is because Yellowstone was not
purchasing any receivables at all. lnstead, Yellowstone was advancing McNider a sum of money
in exchange for repayment of that principal, as well as monetary consideration for the expected
time value of the cash advanced

C. Doomed to Fail

68. Yellowstone also did not have any regard for McNider’s ability to repay the loans
69. This is a practice common to all predatory MCA companies
70. The National Consumer Law Center also recognized that these lending practices

are predatory because they are underwritten based on the ability to collect, rather than the ability
of the borrower to repay. National Consumer Law Center, supra

7l. Like here, this is because MCA companies “receive the bulk of their revenues
from the origination process rather than from performance of the loan [and thus] may have
weaker incentives to properly ensure long-term affordability, just as pre-2008 mortgage lenders
did.” ld. (“[A] fundamental characteristic of predatory lending is the aggressive marketing of
credit to prospective borrowers who simply cannot afford the credit on the terms being offered.

Typically, such credit is underwritten predominantly on the basis of liquidation value of the

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collateral, without regard to the borrower’s ability to service and repay the loan according to its
terms absent resoiting to that collateral.”).

72. Yellowstone only cared about whether they could collect upon default

73. Yellowstone knew that their illegal business model would lead to businesses
failing, which again they safeguarded through security agreements and personal guarantees

74. lndeed, Yellowstone expressly marketed their loans to desperate small businesses
with low credit scores that have knowingly taken out other loans with other i\/ICA companies

75. Yellowstone knew that there was no way the McNider could repay the loans with
its own revenue and that it would have to turn to other l\/lCA companies for financing, which is
exactly what happened

76. With respect to each instance of a new loan, a substantial portion of the new loan
was used to repay the outstanding balance of a previous loan with McNider receiving little
“new” money for their operations if any.

77. Defendants knew that by taking part, either directly or indirectly, in the pyramid
scheme that McNider was doomed to fail or default.

78. lncredibly, Yellowstone’s broker, Arca Funding, continued to solicit McNider for

additional loans even after it could not pay:

From: Leanne <Leanne a arcafundin .com>
Sent: Friday, June 2, 2017 5:21 P|\/i

To: brucemcnider@hotmaii.<:om

Subject: instant Approva|s On Renewa|s!

Hi Bruce,
At Arca Funding getting additional capital is never a probiem. You never have to Wait unti|| isic]
your 50% paid oif. We have true add on programs lines of credit options and one of the most

aggressive merchant retention programs in the country!
Caii us today at 1-866-749-9661 and find Out just how easy it is.

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E. Plaintiffs’ Default and the Defendants’ Collection Efforts.

79. McNider inevitably fell behind on its payments in fall 2016.

80. Despite the fact that McNider was on the brink of financial ruin, Yellowstone
used several methods to extract additional money.

81. First, Yellowstone retained MCA Recovery to contact McNider and attempt to
collect additional payments

82. Second, on or around December 28, 2016 Yellowstone obtained a Judgment by
Confession against McNider in Erie County, New York in the amount of 3314,494.87. Of this
amount, $62,722 was for attorney’s fees calculated at 25% of the alleged debt in violation of
Code of Ala. § 5-19-10, as well as New York public policy.

83. in obtaining this Judgment by Confession, Yellowstone filed an Affidavit of
Confession of Judgment on December 22, 2016 that was forged

84. Specifically, in obtaining its Judgment by Confession, Yellowstone altered the
Affidavit of Confession of Judgment_after it was duly notarized--to cure the fatal defects of a
sworn instrument

85. A person who alters an instrument which affects a legal right, interest, obligation
or status with the intent to defraud, deceive or injure another is guilty of second degree forgery
under Section 170.10 of the New York Penal Law, which is a Class D felony. lt is a Class C
felony under Alabama law. Code of Ala. § 13A-9-3.

86. in obtaining this .iudgment by Confession through the use of a forged instrument,

Yellowstone violated Code of Ala. § 8-19-5 and New York Gen. Bus. Law § 349.

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87. As a direct and proximate result of these actions McNider is entitled to damages
from Yellowstone in the amount of $943,484.61, plus the costs of this suit and reasonable
attorney’s fees
F. Yellowstone and its Emplovees Admit That its MCA Agreements are Loans

88. in or around early 2016, Yellowstone and other i\/ICA companies responded to
increasing lawsuits and regulatory scrutiny by ensuring that their advertising materials were
consistent with the language in their sham agreements

89. Yellowstone, however, cannot take back the statements it made about its l\/.lCA
agreements before it learned that telling the truth was bad for business

90. Yellowstone has previously admitted in advertising and promotional materials
that it was a direct lender and that its i\/ICA agreements are loans For example, Yellowstone

advertises itself as follows:

` YEL'i.GWS‘¥'BNE il.§i§ii"i`z§i,

l YOUB fi-{J $§N£$"$ LOA.T'€ ALY$ERNATIVZZ

  
 
 
  

HELP§NG BUS§NZ€SS OWNERS NA`?"Z§}N'W§{JE
{E.UAL§'FY F{`Bi? FUND¥NG

     

y ma aaa evasive

 

91. Yellowstone employees including its owner, Stern, also have admitted at various

times on social media and/or industry forums that Yellowstone is really a lender.

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92. While Yellowstone’s employees at times have also tried ito distinguish l\/iCAs
from loans their description of Yellowstone’s MCA program actually reinforces the notion that
the transactions are loans

93. in or around August 2013, Yellowstone retained a professional marketing

company to create promotional videos that were marketed to the public on YouTube.

94. Yellowstone created a channel for the videos which it called EZBusiiiessLoans.lO
95. The channel contains 15 videos.

96. The actors in the videos were all employees of Yellowstone

97. The premise of each video is that small businesses cannot get approved for a loan

from a traditional bank, but anyone with a pulse can get a loan from Yellowstone.

98. One of the Yellowstone employees portrayed a character by the name of Dr.
Daniel Dershowitz a.k,a. Dynamite Disco Danny.ll

99. ring video is rated “Bad Cr@dit Business teams m l 855-445-9649.” 1a

100. The premise of the video is that Dr. Dershowitz went to Las Vegas after his
divorce, whereupon he overindulged, niaxed out his credit cards and started dipping into his
business account. Id.

101. Dr. Dershowitz then makes the following statements about his experience with a
traditional lender and his experience with Yellowstone:

When the funds got low, l was in over my head The only way out was to get a

business loan. So l went to the bank and when they ran my credit, the lady

laughed at me. So I Went online and found Yellowstone Capital. I applied for

a loan on Monday based 0n my monthly sales and on Wednesday they gave
me my money. lt’s crazy because my heartrate is higher than my credit score.

 

10 EZBusinessLoans EZBusinessLoans YOUTUBE, https://www.youtube.com/channel/Uquva
0in\/ifrHcaEFi\/l9nNuw/videos?shclf_id:O&sort=dd&view=O (last visited Nov. 29, 2017).

“Ezeuanaaromw,Bad<aaanznnuwsst@ans”t|85&4459649,YonTuBE(Ang.z,zoizr
https://Www.youtube.com/watch?v:WsPZSgnms lE&pbjreload:; 10.

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So if you need money you need to apply right now while their computers are still
giving out money to basically any business owner with a pulse. ld. (emphasis
added).

102. The video was published on Aug 2, 2013. ld.

103. Below the video is the following link: “CLICK HERE TO APPLY!
littp://www.yellowstonecap.com/FundsToday.” [d.

104. As the video played, Yellowstone displayed subtitles that further described its
MCA program:

Bad credit business loans are, and forever will be, extremely hard to obtain.
Luckily, Yellowstone Capital makes it easy to obtain an unsecured bad credit
business loan if you have been turned away by your bank in search of an
unsecured bad credit business loan, or unsecured business funding.

We keep our application process super short, and super easy. Onc,e you submit
your application, your business funding offer can be approved in the same day.
Many of your clients receive their bad credit business loans in as little as three
days

Been turned away for a small business credit card? Apply at Yellowstone
Capital for a bad credit business loan, also known as a business cash
advance, or a merchant cash advance.

Need money for remodeling, upgrades or to buy a new location? Our small
business loans are easy to obtain for these things

()ur business loans are unsecured "i`here are no set minimum monthly payments
which means there are never any late fees So what are you waiting for? Click the

link at the top of the description to get started with your bad credit business loan
application today! ld. (emphasis added).

105. Yellowstone created another video titled “Bad Credit Business Loans | 855-445-
9649,” this one starring a character called lack the dry cleaner.12
106. As the video played, Yellowstone displayed the same subtities as those found in

the Dynamite Disco Danny and Jack the Dry Cleaner videos including the following statement:

 

‘2 EzBuSinessLoans, aaa organ auszness iowa 1 855-445~9649, YooTnBE (Atig. 2, 2013),
https://www.youtube.com/watch ?v=gRNeJhGth o&pbjreload=lO.

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“Apply at Yellowstone Capital for a business loan, also known as a business cash advance,

or a merchant cash advance.” ]d. (emphasis added).
107. Further, in this video the actor states that the loan was for personal reasons ld.
108. Yellowstone created another series of videos starring an employee who portrays a
character by the name of Blake Steven. See, e.g., EZBusinessLoans S)nall Business Loan Rates |
855-445-9649, YOUTUBE (Aug. 2, 2013), https://www.youtube.com/watch?v=KK1nS-fl\/lfws.
109. One of the videos is titled: “Small Business Loan Rates | 855-445-9649.” Id.
l 10. Blake makes the following statements in this video:
You mean to tell me there is a businss out there that’s lending $120 million in risk
free money to Amercia’s bsuiness owners 50,000 f%*cking jobs And it’s
called, it’s called Yellowstone Capital. ]d.

lll. T he subtitles for this video state:

As you well know, when banks consider your interest rate, they will look at your
collateral when determining your potential small business loan rate. We will go
the extra mile to make sure you can get the best small business loan rates as
possible. We have helped thousands of people get the funding that they need

Yellowstone Capital small business loans are easy to obtain and best of all, no
collateral is required! ld. (emphasis added).

ll2. These videos all link to a loan application Yellowstone’s website. Id.

ll3. On or about April l, 2013, Stern posted a video titled: “lt’s l\/iorning in America -

Yellowstone Capital Helps Small Business,”13

l 14. The man in the video makes the following statement:

For the past 4 years Yellowstone Capital has successfully helped small
businesses navigate cash flow issues With verifiable monthly revenue of just
$25,000 through credit card processing or bank statements a simple loan is at
your disposal despite FlCO score. We are in this together. Call 877-972-2748
now or visit us at www.yellowstonecap,com .[d. (emphasis added).

 

13 lsaac Stern, ll ’s Mornl`ng' in /l)nerl'ca ~ Yellowstone Capila/ lylelps S)na/l Business, YOUTUBE (Apr. l, 2013),
littps;//m.youtube.com/ watch?v=QSDQaCaHKbo.

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l 15. Below the video, Yellowstone described its services as follows:

We have the money and we want to help. Let Yellowstone Capital lend you a
helping hand today and just see how far we can go together. All we ask is that
you have a business history of at least 6 months and can show monthly revenue of
$25,000 or more verified by your bank deposits Low FlCO or other marks on
your history will not get in the way of our funding. Call us today at 855-972-2748
or visit our website at http://YellowstoneCap.com ld. (emphasis added).

l l6. Yellowstone’s l\/lCA program is also described as a loan by its employees on
various other social media websites

117. Nathaniel Kingsley, marketing director for Yellowstone Capital, wrote an article
titled: How to Get Business Money Fast in the Face o_fDisaster.

118. in the article, Kinglsey described cash advances as follows:

Cash advances work as a sort of line of credit. You have access to a set amount,

but if you only wind up needing several thousand, you only pay interest on the

amount you used The ‘line of credit’ model can prove especially helpful to a
business rebuilding from disaster, as unforeseen costs associated with rebuilding

can appear as you go.14

1 19. On October 10, 2012, Yellowstone issued a press release describing a new starter
advance program.15 ln the press release, l\/Iike Samuels, a seasoned representative for
Yellowstone since 2009, states that Yellowstone’s l\/ICA is a line of credit: “[a]s long as you
currently own a business and are generating revenue, it’s likely that we can find you funding
Structured properly, a starter advance can help to establish the same valuable line of credit that a

standard merchant cash advance offers.” [d.

120. On October 18, 2012, Yellowstone issued a press release to announce a revised

lSO program. The press release stated, in part, that:

 

14 Nathaniel Kingsley, How to Get Bz/.s‘iness Monev Fast in the F ace ofDisaster, First Class Business (Apr. 18,
2013), http://tirstciassbusiness.org/iiow-to-get-business-money-fast-in-the-face-of-disaster (emphasis added).
'5 Yello\/vstone Capital Extends Approvalsfor Starter Advances, YEI./i.JOWSTONE CAPI'I`AL(Oct. 10, 2012),
http://m.yellowstonecap.com/press/release/yellowstone capital-first-to-fund-bank-oniy-ach-deals/24.

_20_

New York-based l\/lerchant Funding Company Yellowstone Capital, LLC (YSC),
announced in .iuly that their in-house funding team, that includes 5 independent
funders would begin to extend their programs to longer terms and better
_13§§§. The response to this has been tremendous and the amount of longer turning,
larger amount deals has exceeded all expectations16

 

121. On May 12, 2015, Yellowstone posted an article on its blog titled: “Yellowstone
Has the Options You Need to Stay Ahead of the Cornpetition.”17

122. ln the article, Yellowstone references one of its lSO reps Juan l\/lonegro, stating
that Juan “knows firsthand just how valuable it can be to have access to the variety of options
that Yellowstone offers He works with all sorts of deals ranging from A and B paper deals to
ones that are very high risk, even by C and D paper standards.” ld. A, B, C, and D paper are
references to the credit risk a lender takes based on a number of factors

123. The website Alignable.com launched in ianuary 2014. Alignable is a free

network where small business owners build relationships and generate referrals Yellowstone

advertises itself as “direct lender” on Alignable:

  

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16 Yellowstone Capital ’s Revised ]S() Progra)n Unveiled to Meei The Demand ofPre/niunz Accounts, YELLOWSTONE
CAPITAL (Oct. 18, 2012), littp://m.yellowstonecap.com/press/ release /yellowstone-capitals~revised-iso-program-
unveiled-to-meet-the-demand-of-premium-accounts/3l (emphasis added).

17 Yellowstone Has the Oplions You Need to Stay Ahead ofthe Competition, YELLOWSTONE CAPITAL (Nov. 2, 2015),
http://yellowstonecap.com/blog/yellowstone~has-options-you-need-stay~ahead-competition/.

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Yellowstone Capital, ALIGNABLE, https://www.alignable.com/jersey-city-nj/yellowstone-capital#
(last visited Nov. 29, 2017).

124. in 2013, Yellowstone employee, Steve Corlin, also admitted on his Facebook
page that Yellowstone’s l\/lCAs are loans Corlin has been employed by Yellowstone from
February 2011 to present

125. Specifically, on August 22, 2013_, Corlin posted the following: “FOR BEST AND
QUICKEST SERVICE YOU CAN REACH l\/lE DIRECTLY ANY Tll\/IE DURING THE DAY
OR NlGH"l`. THAT’S RlGHT GET APPROVED FOR A UNSECURED BUSINESS LOAN 24
HOURSAD/-\Ylllllllllllll!!l!ll!lllllllll!l”

126. Above and below this post are posts relating to advertisements about
Yellowstone’s business loans with links to Yellowstone’s website.

127. Corlin also has a linkedin page where he describes his postion at Yellowstone as a
“Senior Loan Officer.” ]d. Corlin describes Yellowstone’s services as follows:

The merchant cash advances that we offer are an unsecured business loan

alternative The money that you get as part of your cash advance can be used for

everything from renovation work to bringing in more stock. Our business cash
advances are there for businesses of all sizes and businesses from all different
niches. if your business is starved of cash and the day to day running of it is

nothing short of an impossible mission, you should think about applying for a

cash advance in order to remove those financial constraints so your business can
. . is
go onto become profitable and continue to grow once agarn.

128, Fabio Giordano is a Funding Specialist for Yellowstone and has been employed
from March 2016 to present Giordano also admits Yellowstone is a direct iender:
I am a Direct Lender!

Wc Fund the UnBankablel
l want your B-Z Paperl19

 

18 Steve Corlin, Steve Corlin, Linkedin, https://www.linkedin.com/in/steve-corlin-a2b47966/ (last visited Nov. 29,
2017) (emphasis added).

19 Fabio Giordano, Fabio Giordano, Linkedln, https://www.linkedin,com/in/fabio~giordano-Sbb067l3b/ (last visited
Nov. 29, 2017). y

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129. ' Simon Gould is a senior underwriter in Yellowstone’s Funding Department, and
has been employed by Yellowstone from .ianuary 2010 to present On his l,,inkedln page, Gould

admits Yellowstone is a direct lender:

As a direct lender we work hard to secure funding and working capital for high
risk small business and merchant cash advance deals short term up to 2 million.

Simon Gould, Silnon Gould, LINKEDIN, https://www.linkedin.com/in/simon-gould-67171065/

(last visited Nov. 29, 2017) (emphasis added).

130. Dawanna Terry is employed by Yellowstone as a Senioi' Financial Analyst. Terry

has worked for Yellowstone from April 2015 to present

1 31. Terry describes her position and responsibilities at Yellowstone as follows:

Process Financial Loans For Business 'l`o Promote Morc Working Capital
investigate customers information to ensure their (sic) no fraud before funding a
contract Strong communication and analytical skills20

132. DeBankedcom is a website dedicated to the l\/iCA industry. DeBanked.com has a

forum where users can advertise and/or solicit services

133. Yeyfri Garcia is employed by Yellowstone as a Senior Funding Specialist and

Senior l\/lember of lSO Development.

134. On l\/iay 12, 2017, a Yellowstone employee posted in a forum on DeBanked.com:

We believe that EVERY DEAL IS FUNDABLE!! - even high risk deals With
all of our new benefits we almost GUARANTEE your loan approval. VVe can
get you approved in less than 24 hours21

135. Enrique Del Rosario is a Funding Specialist for Yellowstone. On April 13, 2017,

Del Rosario posted in a forum on DeBankedcom that Yellowstone was looking for new lSO’s22

 

20 Dawanna Terry, Dawanna Terry, Linkedln, https://www.linkedin.com/in/dawanna-terry-34l 186b9/ (last visited

Nov. 29, 2017) (emphasis added).
21 Ygarcia29, Beco)ne an lSO With Our Company!!, DeBanked (l\/Iay 12, 2017, 2119 Pl\/l),

https://debanked.coin/forums/ showthread.php/l 182-Become-an-lSO-with-our-companyl l.

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As part of that post, Del Rosario states that Yellowstone is a “direct lender,” offers merchants
prepay discounts and has “[v]arious Funding Pro grams with lst up to 11 th position funding.” Id.
(emphasis in the original).

136. J ay Marte is employed by Yellowstone. l\/larte also referred to Yellowstone as a
“direct lender” that offered lst-10th position funding and prepay discounts for merchants23

137. Defendant Stern likewise admitted that Yellowstone is a lender in one of his posts
on DeBanked.com. in an advertisement for an underwriting position, Stern stated that

Yellowstone is “[s]eeking an experienced Underwriter in the Small Business Lending space.”24

H. Damages

138. McNider was essentially trapped by a common tactic used by predatory lenders
which begins with a criminally usurious starter loan and ends in financial catastrophe.

139. Yellowstone knew of the existence of other disguised loans and nevertheless
continued to loan monies to l\/lcNider, knowing that the proceeds of one loan would be used to
pay off monies owed on another and so on a until McNider could no longer afford to make any
further payments

140. McNider entered into two criminally usurious loans with Yellowstone. See
Exhibit A and B,

141. As a direct and proximate result of each of these loans McNider has suffered an

injury in excess of $75,000.

 

22 Enriqued, Direct Lender 1100/ting to Buiid Re/ationships With New ISO ’s, DEBANKED (April 13, 2017, 3:47 PM),
https://debanked.com/ forums/showthread.plip/l l50-Direct-Lender-Looking-to-buiid-Relationship-with-new-lSO-s.

23 ioi~manm, Direct tend Paymg crew opm F@r A// rsos, DEBANKED (Api~ii 5, 2017, 12;32 Piyi),
https://debanl<ed.com/forums/show thread php/ l 131~Direct-lender-paying-great-offers-for-all-lSOs?p:4847.

24 lsaacdstern, Yellowstone Capilal/Fundry See/cs MCA Experienced Underii)riter, DEBANKED (Nov. 2, 2015 1:01
Pl\/l), littp://debanked.com/forums/showthread.php/623-Yellowstone-Capital-Fundry-seeks-MCA-expei'ienced-
underwriterl

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142. As a direct and proximate result of each of these loans McNider paid interest in
excess of the 25% maximum interest rate permitted by New York law.

143. As a direct and proximate result of each of these loans McNider’s employees and
owners have been harassed, and McNider has had to defend numerous lawsuits

144. Defendants’ knowledge of the other loans and participation, directly or indirectly,
in the vicious cycle of predatory lending created an indivisible injury for which Defendants are
responsible

145. As a direct and proximate result of each of these loans McNider has suffered
indivisible injury through loss of goodwill, lost profits and devaluation of its business

146. As a direct and proximate result of each of these loans McNider has suffered
indivisible injury by having its other business loans being called in from legitimate banks
deterioration of its credit profile, and the inability to secure financing to obtain needed inventory
and pay its vendors

147. As a direct and proximate result of each of these loans Bruce i\/lcNider has also
suffered an indivisible injury by having to make substantial withdrawals from personal accounts

and secure family loans to keep the business afloat

FIRST CAUSE oF ACTioN
(Rico; 18 U.sC. § 1962)

 

148. Plaintiffs repeat and re-allege the allegations of each of the foregoing paragraphs
A. The Criminal Activity.

149. Defendants have collectively engaged in an unlawful scheme whereby McNider
was induced to enter into, and make payments on, criminally usurious loans that Yellowstone
knew McNider could not pay off without entering into subsequent criminally usurious loans

When the burden to pay off these subsequent loans become too great, McNider defaulted;

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Yellowstone filed a confession of judgment against Plaintiffs and enlisted l\/lCA Recovery to
collect upon the unlawful debts
B. The Legitimate Enterprises.

150. Defendants Yellowstone, Arca, and i\/iCA Recovery are the Legitimate
Enterprises. Defendants used these companies as a front to conduct their illegal activities
While these companies serve a legitimate business purpose by providing and collecting high-
interest loans to small businesses located in states without usury laws or collecting payments on
same, these Legitimate Enterprise were used to issue and collect illegal loans in states that have
usury laws in order to disguise this criminal conduct, Defendants issued these illegal loans
using the auspice of a so-called factoring agreement.” in other words Defendants used the
legitimate business practice of factoring to disguise their loansharking enterprise

151. Each of the Defendants had a key role in this scheme.

C. The Infiuencing Enterprise.

152. Yellowstone, Arca, MCA Recovery, and Stern form the influencing Enterprise.

153. The members of the influencing Enterprise conspired to fund, issue, and collect
on loans disguised as “factoring agreements” given to small businesses

154. Although Defendants do not form a legal entity, the members of the influencing
Enterprise are associated-in-fact.

155. Among other things Plaintiffs’ Agreements were funded by pooling the capital of
individual investors Team AKB, the Legitimate Enterprise and the influencing Defendants

156. Stern assisted in the pooling of the capital to fund the loans

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157. Yellowstone was funded by the John and lane Doe Yellowstone investors
including Team AKB, who conspired with the influencing Enterprise members to fund the
criminally usurious loans

158. Stern, as owner of Yellowstone, assisted the influencing Enterprise by directing
the actions of Yellowstone

159. Arca Funding assisted the influencing Enterprise by acting as a broker for
Yellowstone

160. l\/lCA Recovery was used to collect upon Yellowstone’s unlawful debt

161. The influencing Enterprise Defendants each are persons under 18 U.S.C. §
1961(3) because they are individuals or entities capable of holding a legal or beneficial interest
in property.

162. The influencing Enterprise is a group of individuals and corporations associated
nrfact snce atleas,2016,forthe connnon puque of hnnhng,issnng,and coHecnng on
usurious loans to Plaintiffs and countless other small businesses Thus the associated-in~fact
organization qualifies as an enterprise within the meaning of § 1961(4) and § 1962(0).

163. The influencing Enterprise has an existence separate and apart from the
Legitimate Enterprises.

D. RICO Violations

164. i)eknnnnns have \dohned 18 iiS.C. § 1962(0) and (d) by coHecnng, and
conspiring to collect, an unlawful debt

165. Thc influencing Enterprise is engaged in interstate commerce as it has had
business dealings with others such as Plaintiffs who operate in states where no Defendant

resides

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166. Defendants knowingly and intentionally used the Legitimate Enterprise to fund,
issue, and collect on unlawful loans that charged interest rates that are more than twice the
interest rate permitted under New York’s criminal usury statute

167. Defendants are associated with, and/or employed by, the influencing Enterprise as
they serve various functions for the influencing Enterprise including, but not limited to:

a. Arca Funding brokered Yellowstone’s Agreements with l\/lci\lider.

b. 'fhe John and lane Doe investors including “Team AKB”, conspired with
Yellowstone to fund usurious loans

c. Yellowstone entered into, and collected upon, several loans with l\/icNider;

d. Yellowstone was directed by its owner, Stern, to enter into the usurious
loans; and

e. l\/iCA Recovery, on behalf of Yellowstone attempted to collect upon the
usurious loans

168. Defendants’ collection on these unlawful debts constitutes a per se violation of 18
U.S.C. § 1962(0).

169. Defendants exhaust every possible avenue to collect the unlawful debt, including:

a. Yellowstone’s collection of Plaintiffs’ aforementioned daily wire
payments

b. Yellowstone’s use of an illegal Confession of Judgment; and

c. Collection calls texts and emails by l\/iCA Recovery on behalf of
Yellowstone

170. The debt that Defendants attempted to collect is unlawful because (1) it violates
New York’s criminal usury statute, and (2) the rates are more than twice the legal rate

171. As a direct and proximate result of Defendants’ violations of 18 U.S.C. § 1962(c)
and (d), Plaintiffs have suffered, and continue to suffer, substantial injury to their business

172, Further, Defendants conspired amongst themselves within the meaning of 18

U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(0) by agreeing to conduct and participate in,
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directly and indirectly, the conduct of the affairs of the influencing Enterprise and by collecting
upon an unlawful debt

173. Defendants committed and caused to be committed a continuous series of overt
acts in furtherance of their conspiracy, over a period of many years including, but not limited to,
those acts detailed herein.

174. As a direct and proximate result ofDef`endants’ violations of 18 U.S.C. § 1962(d),
Plaintiffs have suffered, and continue to suffer, substantial injury to their business as they were
forced to pay usurious amounts of interest, and make substantial withdrawals from personal
accounts to aid in repayment

sECoNi) CAUSE oF AC'rroN
(Code of Aia. § 8-19-5.)

175. Plaintiffs repeat and re-allege the allegations of each of the foregoing paragraphs
as if fully set forth herein.

176. Yellowstone willfully and knowingly violated Code of Ala. § 8-1.9-5 by engaging
in unconscionable false, misleading, and deceptive acts and practices

177. Yellowstone’s conduct in inducing l\/lci\iider to enter into the loans involved a
series of consumer and commerce related transactions that substantially occurred within the State
of Alabama.

178. As evidenced by Yellowstone’s internet postings, Yellowstone intended to
provide consumer loans and marketed its product as consumer loans

179. This practice is common throughout the industry; as stated in the previously cited

CNN article: “One guy...said i could buy a boat with it.” CNN Money, supra

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180. Due to the bank statements McNider sent to Yellowstone during the application
process Yellowstone was also aware that loan proceeds were being used for personal reasons
such as Wal-l\/iart purchases food, wine and other household goods

181. Further, by inducing McNider into entering into loans that it could not repay, and
requiring Security Agreements and Personal Guarantees, Yellowstone targeted McNider’s
personal assets

182. i`he Agreements between McNider and Yellowstone set forth illegal and/or
unconscionable collateralized consumer loan transactions

183. Because each of the Agreements is a criminally usurious loan in violation of N,Y.
Penal Law § 190.40, each of the transactions including all related instruments are unenforceable
and unconscionable as a matter of law.

184. The Agreements are unconscionable because they permit judgments by
confession in violation of the strong public policy of Alabama. Code of Ala. § 8-9-11 provides:
“All agreements contracts or stipulations to confess judgment in any of the courts of this state,
to be sued in any county other than that fixed by the venue statutes of this state, or to authorize
another to confess judgment in any of the courts of this state made before the commencement of
the action in which such judgments are so confessed shall be void, and all judgments by such
unlawful confession, or otherwise taken or had in violation of this section, shall be set aside and
annulled on motion if made within six months after the entry of such j udgment.”

185. Yellowstone also knowingly misrepresented the nature of the fees charged in
connection with the loans by representing that the fees were reasonable costs of servicing the
loans when, in fact, these fees were merely additional interest charged by Yellowstone in

consideration of making the loans At the time these representations were made, Yellowstone

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knew that the representations were false. Yellowstone made these representations with the intent

to deceive McNider, and with the intent to avoid the criminal usury laws l\/icNider reasonably

relied upon these knowingly false and/or misleading representations to its detriment

186.

Further, the Agreements are unconscionable because Yellowstone knew that

McNider would not be able to repay the loans

187.

Additionally, the following requirements of the Agreements also make them

unconscionable and unfair:

al
b)

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h)
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j)

188.

Waive the right to a jury trial;

Pay Defendants their attorney’s fees at a punitive rate that was not measured by
the quantum meruit of fees earned but on the amount in default (Yellowstone
only);

Waive the right to participate in a class action;

Waive the right to seek legal redress in their home state;

Execute a Power of Attorney;

Execute a Security Agreement giving the l\/iCA Defendants a UCC lien on all of
McNider’s assets;

Execute a personal guarantee making the individual owner of the business
personally liable for any default under the agreement;

indemnify the l\/iCA Defendants against third-party claims

Waive claims for direct, consequential and punitive damages and

Consent to crippling default penalties and enforcement actions

Yellowstone also violated Code of Ala. § 8-9-11 and Code of Ala. § 5-19-10.

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189. Yellowstone also obtained a iudgment by Confession through a forged
instrument

190. Yellowstone’s conduct was willful, unfair and unlawful

191. McNider suffered damages as a direct result of the Yellowstone’s unlawful, unfair
and deceptive acts

192. The Defendants are jointly-and-severally liable for all damages

THIRD CAUSE ()F ACTION
(Contract)

194. Plaintiffs repeat and re-allege the allegations of each of the foregoing paragraphs
as if fully set forth herein

195. Section 1.8 of the Agreements provider “in the event that a court determines that
[Yellowstone] has charged or received interest hereunder in excess of the highest rate allowed by
law, then the rate in effect hereunder shall automatically be reduced to the maximum rate
allowed by applicable law and [Yellowstone] shall promptly refund to l\/lerchant any interest
received by [Yellowstone] in excess of the maximum lawful rate, it being intended that Merchant
not pay or contract to pay, and that [Yellowstone] not receive or contract to receive, directly or
indirectly in any manner whatsoever, interest in excess of that which may be paid by l\/ierchant
under applicable law.”

196. Each of the Agreements is a loan transaction

197. McNider has paid and, Yellowstone has received, interest in excess of the

maximum criminal usury interest rate allowed under New York law.

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FOURTH CAUSE OF ACTION
(Fraud)

198. Plaintiffs repeat and re-allege the allegations of each of the foregoing paragraphs
as if fully set forth herein

199. Yellowstone intentionally misrepresented the true nature of the transactions in
order to avoid this New York’s criminal laws

200. Yellowstone knowingly misrepresented that the disguised loans were enforceable
when they were illegal under New York law.

201. Yellowstone collected on these illegal contracts which created the false
impression that the Agreements are legally enforceable and that Plaintiffs are obligated to repay
when they were not

202. This false impression is material, and Plaintiffs did not reasonably know that the
contracts were illegal. in fact, McNider only became aware of their illegality when informed by
counsel in l\/iarch of 2017.

203. in addition, Yellowstone falsely represented the market value of the future
receivables that Yellowstone purported to purchase This stated value was not based on any true
market value assessment but rather was a knowingly false representation unilaterally made by
Yellowstone in order to disguise the true nature of the transactions

204. Yellowstone further knowingly misrepresented the nature of the fees charged in
connection with the loans Yellowstone falsely represented that the fees were reasonable costs
of servicing the loans when, in fact, these fees were merely additional interest charged by
Yellowstone in consideration of making the loans

205. Yellowstone’s misrepresentations were intended to induce reliance because if

McNider was aware that (1) Agreements illegal, (2) the market value of the receipts were

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incorrect, or (3) the fees charged were disguised interest, McNider would not have executed the
documents

206. Yellowstone knew that the representations were false at the time they were made

207. Yellowstone made these representations with the intent to deceive Plaintiffs and
with the intent to avoid the criminal usury laws

208. McNider reasonably relied upon these knowingly false representations to their
detriment, as it executed the Agreements and was forced to pay interest in excess of New York’s
criminal usury threshold

209. McNider was directly and proximately damaged by Yellowstone’s knowingly
false representations by paying interest and principal on criminally usurious loans for which they
had no legal obligation to repay.

210. Yellowstone’s conduct was intentional, outrageous and in reckless disregard of
McNider’s rights

FIFTH CAUSE ()F ACTION
(Negligent Misrepresentation)

211. Plaintiffs repeat and re-allege the allegations of each of the foregoing paragraphs
as if fully set forth herein

212. Arca and Yellowstone, in holding Yellowstone out as a funder that educates their
customers on products that will help their businesses gi'ow, had a special and/or privity-like
relationship with McNider.

213. Due to this relationship, Arca and Yellowstone owed McNider a duty to impart
correct information

214. in the summer of 2016, when Arca first contacted McNider on Yellowstone’s

behalf, it informed l\/icNider that Yellowstone provides businesses with the resources they need

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to grow and that any transaction would be based on what McNider could afford to pay, and that
the disguised loan would be good for McNider’s business

215. in providing this information, Yellowstone’s representative stated that they were
providing advice to l\/icNider based on their expertise and knowledge of small business financing
needs

216. These representations however, were incorrect because Yellowstone failed to
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disguised loan without taking on additional loans

217. By providing McNider with false information, Arca and Yellowstone breached
their duty to impart correct information to McNider.

218. in jnovkhng thm spemahzed nnbnnanon to hddsnwn it was remonmny
foreseeable that l\/ici\iider would rely upon the information in making its decision regarding
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219. Further, McNider did reasonably rely upon Arca and Yellowstone’s
represenunions because it decided to execute the /\greenients. Btn for the representanons,
McNider would not have entered into any of the transactions at issue

220. McNider’s reasonable reliance upon the representations was to its detriment
because as a direct result of the representations McNider unknowingly entered into usurious
transactions that required further usurious transaction to repay, bringing the business and

McNider’s personal finances to the brink of disaster.

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PRAYER F()R RELIEF

WHEREFORE, Plaintiffs seek an order from this Court:

a) Declaring each of the Agreements a loan transaction;

b) Ordering Yellowstone to repay McNider all interest previously paid to

Yellowstone in excess of the applicable criminal usury rate of 25%, including 9%

prejudgment interest;

c) Awarding Plaintiffs all principal and interest previously paid to Yellowstone in

connection with the criminally usurious loans;

d) Awarding Plaintiffs direct and consequential damages in an amount to be

determined a trial, including prejudgment interest;

e) Awarding Plaintiffs treble damages

f) Awarding Plaintiffs punitive damages

g) Awarding Plaintiffs their attorney’s fees and costs incurred in this action; and

Granting such other and further relief as this Court deems just and proper.

JURY DEMAND

Plainti'ffs demand a trial by jury on all issues properly so tried

Dated: 12/29/17

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